                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


SANDRA LITTLE COVINGTON, et al.,                      )
                                                      )
                       Plaintiffs,                    )
       v.                                             )       1:15-CV-399
                                                      )
THE STATE OF NORTH CAROLINA, et al.,                  )
                Defendants.                           )


                          SPECIAL MASTER’S FEE STATEMENT


       Pursuant to the Court’s Order of November 1, 2017, (ECF Doc. 206) I am submitting the

following fee request for work performed as Special Master in the above captioned case.

Attached please find a statement of hours and expenses for my work and that of my assistant,

Professor Patrick Egan.


       I incurred $16,694.50 in expenses and worked 219 hours, which at $500/hour, amounts to

$109,500. (All my hours are rounded down to the nearest half hour.) With the expectation that

my bill will be paid within the month timeframe expressed in the Court’s order, I will waive

compensation for my expenses and reduce my fee by an additional ten percent, for a total due to

me of $98,500. Professor Egan worked a total of 102.5 hours at a rate of $250 per hour,

amounting to $25,625 owed to him. Fees can be paid to me at the following address: Professor

Nathaniel Persily, Stanford Law School, 559 Nathan Abbott Way, Stanford CA, 94305-8610.

Please feel free to contact me if I can provide further information or assistance.




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SUBMITTED this 23rd day of January, 2018.




                                        Nathaniel Persily
                                        Special Master




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    Statement of Hours for Work Performed by Nathaniel Persily for Covington v. NC


Date     Hours   Task
 27-Oct    2.5   Preparation of affidavit and review of filings
 30-Oct      6   Review of Filings and maps
 31-Oct      6   Review of new filings and cited precedent
  1-Nov      2   Administrative work to acquire technology and hardware
             4   Reviewed earlier court drawn redistricting plans and Covington materials
             2   Review decisions interpreting NC whole county provision
             2   Craft order for special master plan
  2-Nov      7   Analyzed existing Senate plan and drew multiple solutions
  4-Nov      8   Worked on Senate plan and analyzed house plans
  5-Nov      4   Worked on Senate plan
  6-Nov      8   Worked on House plans
  7-Nov      8   Worked on plans for Guilford county
  8-Nov      9   Worked on draft plan and draft report
  9-Nov      9   Worked on draft plan and helped create images with Pat Egan
 10-Nov      9   Worked on draft plan and helped create images and tables with Pat Egan
 13-Nov      3   Prepared plans and report for release to parties
 14-Nov      3   Began analyzing incumbency effects of plans
 17-Nov      3   Read parties' responses to Draft Plan; Began preparation of final plan and report.
 20-Nov      9   Worked on Special Master's Recommended Plan
 21-Nov      4   Worked on Special Master's Recommended Plan and Report
             2   Reviewed Parties Replies
             3   Worked on Several Scenarios to deal with incumbency
 22-Nov      8   Made final changes to plan to incorporate incumbency, worked on report to explain them
 23-Nov      6   Worked to create Guilford Alternatives 1 and 2, continued work on the Special Master's Report
 24-Nov      5   Redid Guilford House to accommodate State's objections; worked on Report
 25-Nov      8   Wrote Special Master's Final Report
 26-Nov      9   Wrote Special Master's Final Report
 27-Nov      6   Wrote Special Master's Final Report and developed exhibits
 28-Nov      6   Wrote Special Master's Final Report and prepared exhibits
 29-Nov      8   Wrote Special Master's Final Report and prepared exhibits
 30-Nov      5   Proofread Special Master's Final Report
 27-Dec      5   Read Defendants’ objections, questions and expert report; began preparing responses.
   1-Jan     5   Worked on presentation for hearing
   2-Jan     5   Worked on presentation for hearing
   3-Jan     7   Travel to Greensboro from Miami; Worked on Responses to Court's Questions in new Order
   4-Jan     9   Toured Courthouse; Worked with A/V and Court personnel; Prepared presentation
   5-Jan     5   Preparation and Oral argument in court
             9   Travel back home from Greensboro and Preparation of Bill
TOTAL    219.5   x $500 = $98,775


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Statement of Expenses for Nathaniel Persily for Covington v. NC

 Expenses
 Two Maptitude licenses plus NC Data            14000
 Hardware                                        1700
 Travel to and from RDU                          534.4
 Hotel                                          385.24
 Rental Car                                      74.86

 TOTAL                                      $16,694.50




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                                       PATRICK J. EGAN
                                 14 WASHINGTON PLACE, 11-M
                                     NEW YORK, NY 10003




                                                      January 8, 2018




Nathaniel Persily
Stanford Law School
Crown Quadrangle
559 Nathan Abbott Way
Stanford, CA 94305-8610


Dear Professor Persily,

Attached please find a bill and a statement of hours related to the work I performed in Covington v.
North Carolina, developing the tables and images for the Special Master's Draft Plan and Report, the
Special Master's Recommended Plan and Report, as well as the related presentation for the Court.

As we discussed, my hourly rate is $250 per hour and I spent 102.5 hours on the project. The total
bill for my work is therefore $25,625.

You can send payment to me at the address above.


                                                      Sincerely yours,




                                                      Patrick J. Egan




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Patrick J. Egan, assistance to Special Master Nathaniel Persily in Covington v. North Carolina

Date                Hours       Task
Nov. 1, 2017          3         familiarize with special master appointment and instructions from court
                     0.5        telecon w/NP re planning work process

Nov. 2               0.5        telecon w/NP: planning work process

Nov. 3               0.5        Download and install Maptitude, gather files

Nov. 4               1.5        Familiarize with current plans in place
                      4         Setup of Maptitude on laptop, install all map layers

Nov. 5                2         Continue to set up maps

Nov. 9                4         Preparation of maps and statistics for draft plan
                      8         Work with NP on preparation of maps and statistics for draft plan

Nov. 10               4         Preparation of maps and statistics for draft plan
                      8         Work with NP to finalize maps and statistics for draft plan

Nov. 14               1         telecon with NP to prepare corrected draft plan

Nov. 22               8         Prepare maps and statistics for final recommended plan

Nov. 23               2         Prepare maps for final recommended plan

Nov. 24               6         Calculate statistics for final recommended plan, continue to prepare maps

Nov. 25               4         Prepare maps for final report

Nov. 26              16         Run reports, prepare maps, prepare statistics, and prepare exhibits for final report

Nov. 27              10         Prepare final maps and statistics for report, including for alternate plans

Nov. 28               8         Proofing of statistics and maps; creation of shapefiles and block equivalency files for recommended plan

Nov. 29               4         Additional proofs and edits to statistical reports for recommended plan

Nov. 30               1         Additional changes to maps and final report
                     1.5        Final proofing of report and exhibits

Dec. 19               1         Prepare maps of plans with BVAP at VTD level for Special Master's presentation

Dec. 22               1         Complete BVAP maps for Special Master's presentation

Dec. 28               1         Create comparison maps of CDPs and Municipalities for Special Master's presentation

Jan. 2, 2018         0.5        Data analysis for Special Master's presentation

Jan. 4               1.5        Generate and tabulate report on split municipalities

Total hours         102.5

Rate            $250 per hour

Total billed    $     25,625




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